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              United States District Court for the Northern District of Illinois
                                            Revised 03/11/2008

   Case Number: 96cr547-1                          Assigned/Issued By: RCC

   Judge Name: Gottschall                          Designated Magistrate Judge: ASHMAN


                                         FEE INFORMATION


 Amount Due:              $350.00              $39.00               $5.00

                          IFP                  No Fee                Other _____________

                          $455.00

   Number of Service Copies ___________                   Date: ______________________
                                      (For use by Fiscal Department Only)

 Amount Paid: _______________                             Receipt #: __________________

 Date Payment Rec’d: _____________                        Fiscal Clerk: ________________

                                              ISSUANCES

           Summons                                                  Alias Summons

           Third Party Summons                                      Lis Pendens

           Non Wage Garnishment Summons                             Abstract of Judgment
                                                                    ___________________________
           Wage-Deduction Garnishment Summons                       ___________________________
                                                                        (Victim, Against and $ Amount)
     ✔     Citation to Discover Assets
                                                                     Other
           Writ _______________________                              _______________________
                     (Type of Writ)                                  _______________________
                                                                            (Type of issuance)

1
______Original     1
               and __________           05/05/10
                              copies on ________________ as to ____________________________
                                                               Third Party
                                              (Date)
Jerry Lagrone
____________________________________________________________________________________

____________________________________________________________________________________
No Notice Filed
